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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                          ENTERED
                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS                   February 05, 2021
                            HOUSTON DIVISION                         Nathan Ochsner, Clerk



MEHER WANKER                             §
                  Plaintiff,             §
                                         §
v.                                       §
                                         §      CIVIL ACTION NO. H-20-1098
BAYVIEW LOAN SERVICING, LLC,             §
                                         §
                  Defendant.             §



                                    ORDER

       Plaintiff,    Meher     Wanker,       has filed a Motion to Dismiss

(Docket Entry No.      15) .    The motion is incorrectly styled as

"Defendant's     Motion   to   Dismiss"       although   the   motion     itself

recognized that Wanker is the plaintiff, not the defendant.                    The

court therefore RESTYLES motion as Plaintiff's Motion to Dismiss

and GRANTS it.


      SIGNED at Houston, Texas, on this 5th                                 2021.




                                   SENIOR UNITED STATES DISTRICT JUDGE
